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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                    TAMPA DIVISION
OTHA LOCKETT,

              Plaintiff,
                                                        CASE NO.: 12-CV-02396
v.

ENHANCED RECOVERY COMPANY, LLC
and PALISADES COLLECTION, LLC,

           Defendants.
_____________________________________/

                           NOTICE OF PENDING SETTLEMENT

       Defendant, Palisades Collection, LLC (Palisades), through counsel, hereby

submits this Notice of Pending Settlement and states that Palisades and plaintiff, Otha

Lockett, (collectively referred to as “the parties”) have reached a verbal settlement with

regard to this case and are presently drafting, finalizing, and executing the settlement and

dismissal documents. Upon execution of the same, the parties will file the appropriate

dismissal documents with the Court.

                                          Respectfully Submitted,


                                          /s/ Rachel A. Morris
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                                       Attorneys for Palisades Collection, LLC



                             CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on the 6th day of November, 2012 a copy of the

foregoing document was filed via ECF providing notice to

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                                       /s/ Rachel A. Morris
                                       Attorney



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